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                                          THE CITY OF NEW YORK
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                                                                            January 26, 2017


       VIA FACSIMILE & ECF @ 718-613-2365
       Honorable Cheryl L. Pollak
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

               Re:    Ashley Painson, et al. v. City of New York, et al.,
                      14-CV-2788 (ENV) (CLP)

       Your Honor:

                      I am a Senior Counsel in the office of Zachary W. Carter, Corporation Counsel of
       the City of New York, representing defendants in the above-referenced action. By way of
       background, on December 20, 2016, the Court made a settlement recommendation with respect
       to Ashley Painson to which defendants responded that they accept the Court’s settlement
       recommendation on the condition that the parties resolve both Ms. Painson and Diego Mercado’s
       claims in this case. Soon after the settlement conference, however, plaintiff’s counsel traveled
       out of the country for several weeks and, as such, the parties had to continue settlement
       negotiations upon his return.

                      Defendants now write on behalf of the parties to respectfully inform the Court
       that they have agreed to settle this matter without further litigation. The parties are in the process
       of preparing settlement papers, including a Stipulation of Dismissal for the Court’s endorsement.
       To that end, the parties respectfully request an adjournment of all deadlines and appearances in
       this matter.

                      Thank you for your consideration herein.

                                                                     Respectfully submitted,

                                                                            /s/
                                                                     Gary Moy
                                                                     Senior Counsel

       cc:     Ugochukwu Uzoh, Esq. (via ECF)
